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                       EXHIBIT A
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                                                                              Overall Program Statistics
                                                                             (Sfalus Report as of March 07, 2012)

     All Claimants                                                                                           I      -
                                                                                                                        Na.of
         Tota! All Claimants                                             (Claims: 1,059,873)
                                                                                                             i   - 9leirqlts           l




      (This is a unique count that includes ail Emergency Advane payment Ctaimants)
         1, lldiyidgal
                                                                                                             " 574,379                 i




      2. Business                                                                                                        120,504
     -
      cii i m a nt {' iltiine leiiiti a ti' 6n;se t's r: ai6r   -'
     Current Claimant Status                                                                                                                   No. of Claimants
         lnterim and Final Claimants - Phase ll gnis repot reftects ctaimants'cunent
                                                                    ctaimants,cunent status
                                                                                     status                                                         ,o iI o4l ,
      gt of the report date, !!eJe_!9!9
                             therefore e_49! claimant is oily
                                        each \ilallgltlt onty rcpresente{t        category below.)
                                                                           in one category
                                                              rcpresented tn               betow.)                                     I            oo
                                                                                                                                                    - - ,g 'l
t. -?-n .v!.:!!Y-tPlu!!-?!!9
         Reviewed - Phase ll Only                                                                                                                   3791-4:3-q
          1. Final Payment            tssued                                                                                           i             _ 195,085
            a. Quick Payment                                                                                                                             128'147
            b. Full   Review                                                                                                           i                  oessa
          2. Final Release Acceptgd pending payment
                                                                                                                                                            353
          3. Final Offer Acknowledged pending Accepted Release                                                                                            3'370
          4. Final offer Made                                                                                                                            1n zno
            With lnterim Payment 1+,St A out ot ttrese .l 0,409 Final Ofiers)
          5. Other Claim Determinq[lors:                                                                                                                161
            al claimqntq Without an Estabtished          Loss                                                                                                 '216
                                                                                                                                                               517
            c: C. laimqt1tg Notified Additional lnformation          Required                                                      ri                     )o ala
                                                                                                                                                          29,91C
            d. Claimant Denied


          1. Phase ll - lnterim & Final                                                                                            l
                                                                                                                                                         1 1,381


, Claimants with Resolved EAP Submissions                                                                                       - ,-----"*--
 J!!g!!- E4F qggngllthaue r*fited in the phase t!: lnteim and Finat Ctaim Stage)
;-
                                                                                                                                   :                M9r81 I

               Paid Claimants
                 Total Unique Claimants
                 1 . Qu!9k Pay / Ful! Review / tnterim payment

                      a. lndiidual
                      b. Busrness
                z. emergency Aovanced iiymeniiEACf                      --
                      a. lndividual




                                                                                                                                                 Amount Paid




              -iltl Futl nef,iewilnii iariioenr
                1. lndividual


                                             '
lFull Review Final Payment Ofiirc
(lndusiw of-Ofre9 with Reha* Affi(,Gd aN Final payreft tssud)                OfiBrB tlade
i fotai-Firi'iiofreii                                                            s0,805
                                                                                                                                           * - Amount Accepted
                                                                                                                                                      i,i4,rsr,seb.ul
     1. Final Ofiers: lndividual
                                                                                 ,s8,8J1                                                               q!!:'!.30149q:21 l
 *?,f-,n4!IgrsiE!:i19:s _                                                        31,994
                                                                                                                                           ____ia9!,091.12M             ,
